Case 21-00022-dd         Doc 21      Filed 08/11/21 Entered 08/11/21 11:21:13             Desc Main
                                      Document Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In re:                                                      Case No. 21-00022-dd
         ABRAHAM FLEMMING JR

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Pamela Simmons-Beasley, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 01/05/2021.

         2) The plan was confirmed on 03/17/2021.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 07/16/2021.

         6) Number of months from filing or conversion to last payment: 5.

         7) Number of months case was pending: 7.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $10,783.00.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
Case 21-00022-dd       Doc 21        Filed 08/11/21 Entered 08/11/21 11:21:13                    Desc Main
                                      Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor                   $800.00
       Less amount refunded to debtor                               $0.00

NET RECEIPTS:                                                                                      $800.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $453.97
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                        $64.00
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                   $517.97

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                       Claim         Claim          Claim        Principal      Int.
Name                                 Class   Scheduled      Asserted       Allowed         Paid         Paid
ACCEPTANCE NOW                   Secured        3,572.00       3,572.00       3,572.00          25.89     51.36
ACS PRIMARY CARE PHYSICIANS OF   Unsecured            NA         803.60         803.60           0.00       0.00
BAILEYS TRUCK & AUTO SALES       Secured        6,370.00       6,369.58       6,369.58          21.66    183.12
CAINE & WEINER                   Unsecured      1,848.00            NA             NA            0.00       0.00
CUSTOM FIN                       Unsecured         267.00           NA             NA            0.00       0.00
ED DIXON FURNITURE               Secured           500.00        250.00         250.00           0.00       0.00
ED DIXON FURNITURE               Unsecured            NA         221.20         221.20           0.00       0.00
Enhanced Recovery Company        Unsecured         732.00           NA             NA            0.00       0.00
Financial Data Systems           Unsecured          76.00           NA             NA            0.00       0.00
FLORENCE COUNTY TREASURER        Priority             NA         171.39         171.39           0.00       0.00
FLORENCE COUNTY TREASURER        Priority             NA         242.71         242.71           0.00       0.00
GRACELAND RENTALS                Secured           427.00        427.00         427.00           0.00       0.00
IC SYSTEM INC                    Unsecured         391.00           NA             NA            0.00       0.00
MED DATA SYSTEMS                 Unsecured         164.00           NA             NA            0.00       0.00
MIRAMED REVENUE GROUP            Unsecured          96.00           NA             NA            0.00       0.00
MIRAMED REVENUE GROUP            Unsecured          73.00           NA             NA            0.00       0.00
MIRAMED REVENUE GROUP            Unsecured          60.00           NA             NA            0.00       0.00
MIRAMED REVENUE GROUP            Unsecured          58.00           NA             NA            0.00       0.00
ONEMAIN                          Unsecured      5,517.00       5,547.79       5,547.79           0.00       0.00
RSI EAST                         Unsecured         234.00           NA             NA            0.00       0.00
RSI EAST                         Unsecured         184.00           NA             NA            0.00       0.00
RSI EAST                         Unsecured          25.00           NA             NA            0.00       0.00
WAKEFIELD & ASSOCIATES           Unsecured            NA          35.08          35.08           0.00       0.00
WORLD FINANCE CO #90             Unsecured      1,315.00            NA             NA            0.00       0.00
World Finance Corporat           Unsecured         325.00           NA             NA            0.00       0.00




UST Form 101-13-FR-S (09/01/2009)
Case 21-00022-dd          Doc 21      Filed 08/11/21 Entered 08/11/21 11:21:13                Desc Main
                                       Document Page 3 of 3



Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
Secured Payments:
      Mortgage Ongoing                                         $0.00              $0.00             $0.00
      Mortgage Arrearage                                       $0.00              $0.00             $0.00
      Debt Secured by Vehicle                              $6,369.58             $21.66           $183.12
      All Other Secured                                    $4,249.00             $25.89            $51.36
TOTAL SECURED:                                            $10,618.58             $47.55           $234.48

Priority Unsecured Payments:
       Domestic Support Arrearage                              $0.00              $0.00              $0.00
       Domestic Support Ongoing                                $0.00              $0.00              $0.00
       All Other Priority                                    $414.10              $0.00              $0.00
TOTAL PRIORITY:                                              $414.10              $0.00              $0.00

GENERAL UNSECURED PAYMENTS:                                $6,607.67              $0.00              $0.00


Disbursements:

         Expenses of Administration                                $517.97
         Disbursements to Creditors                                $282.03

TOTAL DISBURSEMENTS :                                                                           $800.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/11/2021                             By:/s/ Pamela Simmons-Beasley
                                                                   Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
